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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

BRIAN HUDDLESTON,                             )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       CIVIL ACTION No. 4:20CV00447
                                              )
FEDERAL BUREAU OF                             )       JUDGE AMOS MAZZANT
INVESTIGATION and                             )
UNITED STATES                                 )
DEPARTMENT OF JUSTICE,                        )
                                              )
               Defendants.                    )


            IN CAMERA, EX PARTE DECLARATION OF DAVID J. GORMAN

I, David J. Gorman, declare as follows:

1.     I am an Assistant United States Attorney (AUSA) and currently serving as the Chief of

the Homicide Section, Superior Court Division, at the United States Attorney’s Office for the

District of Columbia (USAO-DC). I have been an AUSA in the USAO-DC since 1998 and the

Chief of the Homicide Section since August 2018.

2.     This declaration is in support of the Defendant’s Motion for Clarification and/or

Reconsideration of the Court’s Memorandum Opinion and Order dated September 29, 2022,

wherein the Court 1) Granted in part and Denied in Part Defendant’s Motion for Summary

Judgment; 2) Granted in Part and Denied in Part Plaintiff’s Cross Motion for Summary

Judgment; and 3) Ordered the Government to produce the information it possesses related to

Seth Rich’s laptop within 14 days of the date of the Order.

3.     This in camera, ex parte declaration relates to and contains information about a pending

                                  investigation into the homicide of Seth Rich, who was shot and



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killed on July 10, 2016, in the 2100 block of Flagler Place, Northwest, Washington, D.C. Mr.

Rich died by gunshot during what is believed to be a botched robbery in the early morning hours

of July 10, 2016. At the time, Mr. Rich was walking alone to his home in D.C.

4.     The D.C. Metropolitan Police Department (MPD) has jurisdiction over homicides in the

District of Columbia and immediately began to investigate the homicide, as the lead law

enforcement agency. The investigation was assigned to Detective                             .

Detective                subsequently transferred to another division within MPD and the

investigation was reassigned to Detective                  . Detective          retired from MPD in

2021. The MPD investigation has since been reassigned to Detective                      .

5.     On or about July 12, 2016,                                        investigation was opened

and assigned to AUSA                  , who was an AUSA in the USAO-DC Homicide Section.

The              investigation was later reassigned to AUSA                    , also assigned to the

USAO-DC Homicide Section. Both AUSA                   and AUSA           have left government

service, with AUSA          retiring from the government in 2018. The                 investigation

was then reassigned to USAO-DC Homicide AUSA                        .

6.     In early 2019, AUSA           and the              investigation made specific strides

toward identifying the suspect(s) involved in Mr. Rich’s murder. Several investigative steps

were taken during that time and through the middle of 2019. The investigation slowed somewhat

during the latter part of 2019, but activity was expected to increase in the first half of 2020,

Unfortunately, as a result of the pandemic,

                       . Like most other               homicide investigations, this matter stalled.




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7.      With the resumption of                               matters in D.C. Superior Court, AUSA

       re-initiated this and other                  investigations. While slower-moving, the

      investigation in this case is still active.

8.      AUSA            is presently in a multi-defendant homicide trial in D.C. Superior Court that

began in early September and is expected to conclude in mid-to-late November.

9.      On September 30, 2022, AUSA                         received an e-mail from the family of Seth

Rich, informing him of this Court’s Order that Seth Rich’s computer be turned over in 14 days.

AUSA           forwarded the email to me. Prior to that notification from the Rich family, neither

AUSA                   nor myself were aware of the litigation in this matter.

10.     On October 5, 2022, I contacted AUSA                       , who was recently appointed as

Chief of the                               . AUSA             also had no knowledge of the pending

litigation in this matter.

11.     AUSA             then contacted the United States Attorney’s Office the Eastern District of

Texas (USAO-EDTX) and was connected to the assigned USAO-EDTX Civil Division AUSA.

12.     During the course of the criminal investigation, a significant number of allegations were

made online (and through other methods), that Seth Rich was murdered as a result of his working

for the Democratic National Committee (DNC). Further, some allegations were made that Mr.

Rich was murdered as a part of a larger conspiracy – well beyond any botched robbery. Without

recounting or addressing each allegation in this declaration, it does not appear that Mr. Rich’s

murder is part of any conspiracy larger than the attempted robbery.

13.     As with other items of evidence in this case, Seth Rich’s laptop computer is important to

the              investigation for what it contains and for what it does not contain. Any public

release of the contents of the computer will have a significant and negative impact on the



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      investigation and the future prosecution of any suspects. As a result, I am asserting FOIA

Exemption 7(A) to withhold in full the compact disc containing images of Seth Rich’s personal

computer.

14.     If necessary, we are prepared to provide additional information to the Court concerning

the             investigation.




Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the foregoing is true
and correct.

Executed this 27th day of October, 2022.


                                                     ___________________________
                                                     DAVID J. GORMAN
                                                     Chief, Homicide Section
                                                     Superior Court Division
                                                     United States Attorney’s Office
                                                        for the District of Columbia
                                                     601 D Street, NW
                                                     Washington, D.C. 20530




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